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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

  GABRIEL ARRIES,                 §
                                  §
      Plaintiff,                  §
  v.                              §
                                  §        CIVIL ACTION
  VICTOR HILL, RASHAWN            §        FILE NO. _________
  JOHNSON, JAMES STEWART,         §
  Jr., JELANI FOSTER, MONTEZ      §
  HAWKINS, SYDNEY CANNON, §                JURY TRIAL DEMANDED
  DAVID EVANS, BENJAMIN           §
  WALKER, Jr., and John Does 1-2, §
  in their individual capacities, §
                                  §
       Defendants.                §
                                  §

                                COMPLAINT

      COMES NOW Plaintiff Gabriel Arries, (“Plaintiff”), and hereby files this

Complaint against Defendants, VICTOR HILL, RASHAWN JOHNSON,

JAMES STEWART, Jr., JELANI FOSTER, MONTEZ HAWKINS, SYDNEY

CANNON, DAVID EVANS, BENJAMIN WALKER, Jr. and JOHN DOES 1-2

(“Defendants”), as follows:

                        JURISDICTION AND VENUE




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                                            1.

      This is an action brought pursuant to 42 U.S.C. §§ 1983 and 1988 and the

Fourteenth Amendment to the Constitution of the United States as applied to the

State of Georgia and its entities, officials, and employees, as well as the statutes

and common law of the State of Georgia.

                                            2.

      Venue is proper in the Northern District of Georgia, Atlanta Division, as all

acts complained of occurred in Clayton County, Georgia. This court has jurisdiction

over this matter pursuant to 28 U.S.C. §§ 1331, 1332, 1343, and 1391.

                                            3.

    Plaintiffs seek compensatory damages, interest and attorneys’ fees and costs

pursuant to 42 U.S.C. § 1988 and/or malicious, intentional, and reckless acts of

Defendants.

                         IDENTIFICATION OF PARTIES

                                            4.

     Plaintiff, at the time of the subject incident, was a citizen of the United States

and resident of the Los Angeles, California, and currently is a citizen of James City,

Virginia, and is entitled to bring this action under Georgia law for all general, special,

compensatory, and permissible damages.

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                                          5.

     Defendant Victor Hill (hereinafter “Defendant Hill”) is a resident of Clayton

County, Georgia, and is subject to the personal jurisdiction of this Court.

Defendant Hill is sued in his individual capacity for acts committed during the

course and scope of his employment as the Clayton County Sheriff. He may be

personally served with this Complaint and Summons at the Clayton County

Sheriff’s Office, 9157 Tara Boulevard, Jonesboro, Georgia 30236.

                                          6.

     Defendant Rashawn Johnson is a resident of DeKalb County, Georgia, and is

subject to the personal jurisdiction of this Court. Defendant Johnson is sued in his

individual capacity for acts committed during the course and scope of his

employment with the Clayton County Sheriff’s Department. He may be personally

served with this Complaint and Summons at his personal residence, 7403 Treehills

Pkwy Stone Mountain, GA 30080.

                                          7.

      Defendant James Stewart, Jr. is a resident of Clayton County, Georgia and is

subject to the personal jurisdiction of this Court. Defendant Stewart is sued in his

individual capacity for acts committed during the course and scope of his

employment with the Clayton County Sheriff’s Department. He may be personally

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served with this Complaint and Summons at his personal residence, 5771

Trammell Rd. Apt. 9D, Morrow, GA 30260.

                                           8.

    Defendant Jelani Foster is a resident of DeKalb County, Georgia and is subject

to the personal jurisdiction of this Court. Defendant Foster is sued in his individual

capacity for acts committed during the course and scope of his employment with the

Clayton County Sheriff’s Department. He may be personally served with this

Complaint and Summons at his personal residence, 1212 Winston Dr. Decatur, GA

30032.

                                           9.

    Defendant Montez Hawkins is a resident of DeKalb County, Georgia and is

subject to the personal jurisdiction of this Court. Defendant Hawkins is sued in his

individual capacity for acts committed during the course and scope of his

employment with the Clayton County Sheriff’s Department. He may be personally

served with this Complaint and Summons at his personal residence, 116 Creste Dr.

Decatur, GA 30035.

                                          10.

    Defendant Sydney Cannon is a resident of Clayton County, Georgia and is

subject to the personal jurisdiction of this Court. Defendant Cannon is sued in his

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individual capacity for acts committed during the course and scope of his

employment with the Clayton County Sheriff’s Department. He may be personally

served with this Complaint and Summons at his personal residence, 355 Lakeridge

Ct. Riverdale, GA 30274.

                                          11.

    Defendant David Evans is a resident of Fayette County, Georgia and is subject

to the personal jurisdiction of this Court. Defendant Evans is sued in his individual

capacity for acts committed during the course and scope of his employment with the

Clayton County Sheriff’s Department. He may be personally served with this

Complaint and Summons at his personal residence, 435 Highway 279 Fayetteville,

GA 30214.

                                          12.

    Defendant Benjamin Walker, Jr. is a resident of Georgia, but the specific county

is currently unknown. Defendant Benjamin Walker, Jr. is subject to the personal

jurisdiction of this Court. Defendant Benjamin Walker, Jr. is sued in his individual

capacity for acts committed during the course and scope of his employment with the

Clayton County Sheriff’s Department. He will be personally served with this

Complaint and Summons at his personal residence, once it is identified.



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                                           13.

     Defendants John Does 1-2 were Clayton County Sheriff’s deputies acting within

the course and scope of their employment with the Clayton County Sheriff’s

Department at all times relevant to this Complaint. Plaintiff is informed, believes,

and thereon alleges that these unknown and unnamed Defendants are also legally

responsible and liable for the incidents, injuries and damages hereinafter set forth,

and that each of these Defendants proximately caused the injuries and damages by

reason of negligence, carelessness, deliberately indifference, intentional, willful, or

wanton misconduct, creating and otherwise causing the incidents, conditions, and

circumstances hereinafter set forth.

                                           14.

     Defendant John Does will be substituted and brought into this lawsuit in their

individual capacities and served with process once their true identities are revealed

in litigation.

                                           15.

     Defendants acted with actual malice, willfully and wantonly toward Plaintiff,

proximately causing his injuries. Further, Plaintiff pleads that the conduct of

Defendants violated clearly established statutory and constitutional rights of which

a reasonable person would have known. Therefore, no immunity applies in this

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matter.

                                           16.

     Defendant Hill was grossly negligent in his supervision of Defendants Johnson,

Stewart, Foster, Hawkins, Cannon, Evans and Walker and was deliberately

indifferent to the rights of others, and has exhibited a pattern, policy, and custom of

violating the rights of the citizens of Georgia, including Plaintiff, through acts of

physical assault and unreasonable restraint, such that Defendants misconduct is

affirmatively linked to Defendant Hill’s acts.

                                         17.

     Defendant Hill failed to adequately train and supervise Defendants and his

negligent training was causally related to the constitutional violations committed

by them.

                           FACTUAL ALLEGATIONS

                                         18.

     At all relevant times, Defendants Johnson, Stewart, Foster, Hawkins, Cannon,

Evans and Walker, and other deputies of the Clayton County Sheriff’s Department,

were serving under the authority of Defendant Hill.




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                                        19.

    Defendants Johnson, Stewart, Foster, Hawkins, Cannon, Evans, Walker and

John Does 1 and 2 were sworn members of the Clayton County Sheriff’s Department

and were acting under the color of law and pretense of the statutes, ordinances,

regulations, customs, and usages of the State of Georgia and the Clayton County

Sheriff’s Department, where they were under the authority of their office and within

the scope of their employment as Sheriff’s Deputies.

                                        20.

    On February 5, 2021, Gabriel Arries, who suffers from Bi-polar and Mood

Disorder, was arrested for misdemeanor Disorderly Conduct at Hartsfield-Jackson

Airport by Atlanta Police Department and transported to the Clayton County Jail.

                                        21.

    After arriving at the Clayton County Jail, at approximately 7:51pm Nurse

Rebecca Estrill of CorrectHealth, LLC, in the presence of Defendants Johnson and

Stewart, was informed of Gabriel’s Bipolar and Mood Disorder diagnoses.

                                        22.

    Nurse Estrill along with Defendants Johnson and Stewart, observed Gabriel’s

thoughts to be disorganized and that he was unaware he was in the State of Georgia.



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                                         23.

     In that state of mind, Gabriel was allegedly combative and shouting racial

epithets to the Sheriff’s deputies. A ramp call was initiated directing all deputies to

come to the intake area.

                                         24.

     Defendant Johnson pinned Gabriel to the wall, forced him to the ground and

then carried him along with Defendants Stewart, Hawkins and other Clayton County

Sheriff’s deputies to the shower/dress out area.

                                         25.

     Once in the shower/dress out area, Clayton County Sheriff’s deputies, including

Defendants Stewart, Johnson and Hawkins repeatedly, maliciously, and violently

struck Gabriel.

                                         26.

     Defendants Johnson, Stewart and Hawkins then unreasonably restrained

Gabriel in a restraint chair and placed him outside the infirmary.

                                         27.

     Approximately four (4) hours later, Gabriel was taken from the infirmary in the

restraint chair to the shower/dress out area again. Defendants Sydney Cannon,

Benjamin Walker and other Clayton County Sheriff’s deputies again repeatedly,

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maliciously, and violently struck Gabriel and unreasonably forced him back into the

restraint chair.

                                        28.

     At some point thereafter, Defendant Evans alleged that Gabriel wanted to kill

himself, so despite Gabriel’s previous behavior and admissions about his health, he

placed him on suicide watch in medical holding cell 7 with another inmate whose

charges included armed robbery, aggravated assault, and participation in criminal

gang activity.

                                        29.

     Allegedly, an altercation occurred between Gabriel and his cell mate.

                                        30.

     Defendant Foster tased Gabriel and then placed him alone in a medical

holding cell 20 with open wounds on his face while covered in feces.

                                        31.

     Many hours later, medical staff for Clayton County Jail found Gabriel

unresponsive, making involuntary movements, incontinent, still covered in feces,

with facial edema and lacerations.

                                        32.

       At that time, Gabriel was taken to the infirmary and subsequently

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transported to Atlanta Medical Center.

                                          33.

     The physicians at Atlanta Medical Center, diagnosed Gabriel with a severe

traumatic brain injury, subdural hematoma, subarachnoid hemorrhage, and closed

fracture of nasal bone as a result of the repeated, malicious, and violent attacks from

Defendants Johnson, Stewart, Hawkins, Foster, Cannon, Evans and Walker and

potentially other officers.

                                          34.

     At the time of his injuries, Plaintiff was a citizen and resident of the County of

Los Angeles, in the State of California and in the United States of America. At all

times relevant herein, Plaintiff had legal rights established by the Constitution of the

United States, the Constitution of the State of Georgia, and laws set forth by state

and federal statutes.

              COUNT ONE: PLAINTIFF’S CLAIMS UNDER 42
              U.S.C § 1983 AGAINST DEFENDANTS JOHNSON,
                 STEWART, HAWKINS, FOSTER, CANNON,
                            EVANS and WALKER

                                          35.

     Plaintiff re-alleges and incorporates the above paragraphs of the Complaint

as though they were fully set forth herein.

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                                         36.

    Pursuant to U.S.C. § 1983, the intentional, malicious, and reckless beating and

restraint of Gabriel without legal justification by Defendants was in violation of

Gabriel’s rights as guaranteed by the Fourteenth Amendment to the United States

Constitution, for which Defendants are liable.

                                         37.

    Defendants actions of repeatedly striking Gabriel and placing him into the

restraint chair were violations of Gabriel’s civil rights under both the United States

Constitution and 42 U.S.C § 1983, including the use of excessive and deadly force

in violation of due process, and clearly violated established statutory laws of the

State of Georgia, to which Defendants were aware.

                                        38.

    Defendants acted with actual malice and an intent to injure Gabriel when they

repeatedly struck him and placed him in the restraint chair without reason.

                                        39.

    As a result of the conduct by Defendants Johnson, Stewart, Hawkins, Foster,

Cannon, Evans and Walker, Gabriel has suffered life altering brain damage and

other personal injuries as outlined in this Complaint. Additionally, Gabriel has

suffered physical and emotional pain suffering, along with significant medical

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expenses which he continues to accrue.

              COUNT TWO: PLAINTIFF’S CLAIMS UNDER 42
                U.S.C § 1983 AGAINST DEFENDANT HILL

                                         40.

     Plaintiff re-alleges and incorporates the above paragraphs of the Complaint

as though they were fully set forth herein.

                                         41.

     The acts, omissions, systemic flaws, policies, and customs set in place by

Defendant Hill, caused Clayton County Sheriff’s deputies, including Defendants

Johnson, Stewart, Hawkins, Foster, Cannon, Evans and Walker, to believe that the

use of excessive, unreasonable, malicious, and willful force would not be

aggressively, honestly, and properly investigated, with the foreseeable result that

deputies are more likely to use excessive or unreasonable force against detainees

such as Gabriel.

                                         42.

     Upon information and belief, Defendant Hill, developed a pattern, policy, and

custom of unreasonably placing detainees in the restraint chair and permitting the

unreasonable and malicious excessive use of force by his deputies and is liable under

a theory of supervisory liability.


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                                          43.

     Notably, Defendant Hill was recently indicted by the United States of America

for repeatedly using the inmate restraint chair to inflict punishment on certain

inmates. A true and correct copy of the indictment is attached as Exhibit A.

                                          44.

     It was the policy and practice of the Defendant Hill to employ certain deputies,

including Defendants Johnson, Stewart, Hawkins, Foster, Cannon, Evans and

Walker, that were prone to using unreasonable and excessive force against detainees.

                                          45.

     For a significant period leading up to Gabriel’s assault, Defendant Hill has had

a persistent and widespread practice of condoning, ratifying, and authorizing

deputies, including Defendants Johnson, Stewart, Hawkins, Foster, Cannon, Evans

and Walker, to use of excessive force. Further, Defendant Hill was aware of, and

deliberately indifferent to, this widespread and systemic corruption within the

Clayton County Sheriff’s Department. Further, Defendant Hill’s deliberate

indifference allowed said corruption to flourish and increase in the years leading up

to Gabriel’s assault. Such custom, policy, and practice were the driving force leading

to the violation of Gabriel’s civil rights, as described herein.



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                                         46.

     Defendant Hill is engaged in a persistent and widespread practice of allowing his

deputies to violate Clayton County’s own policies and procedures.            Moreover,

Defendant Hill is deliberately indifferent to this practice and custom within the

Clayton County Sheriff’s Department, by failing to enforce policies; failing to

properly train; failing to properly discipline; and thus, creating a culture within the

Clayton County Sheriff’s Department wherein violating citizen’s civil rights is not

only tolerated, but also encouraged; thereby allowing the deprivation of Gabriel’s

civil rights, as described herein.

                                         47.

     As a result of the conduct by Defendant Hill, Gabriel has suffered life-altering

brain damage and additional personal injuries as outlined in this Complaint. Gabriel

has also suffered physical and emotional pain and suffering, along with significant

medical expenses which he continues to accrue.

                  COUNT THREE: PLAINTIFF’S STATE LAW
                 CLAIMS AGAINST DEFENDANTS JOHNSON,
                  STEWART, HAWKINS, FOSTER, CANNON,
                          EVANS and WALKER

                                         48.

     Plaintiff re-alleges and incorporates the above paragraphs of the Complaint

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as though they were fully set forth herein.

                                         49.

     The acts orchestrated by Defendants Johnson, Stewart, Hawkins, Foster,

Cannon, Evans and Walker were intentional and malicious. Gabriel was restrained

unarmed, episodic, and posed no threat of death or grievous bodily injury to

Defendants or others.

                                        50.

     Defendants Johnson, Stewart, Hawkins, Foster, Cannon, Evans and Walker had

no lawful authority to use excessive force against Gabriel. They acted with actual

malice, were willful, wanton, indifferent and deliberately disregarded Gabriel’s

statutory rights.

                                         51.

     Defendants Foster and Evans placed Gabriel in mental health holding cell 7

with another inmate in violation of Clayton County Sheriff’s Department’s own

policy, practice and procedures for classification of inmates.

                                        52.

     Under Clayton County Sheriff’s Department inmate classification guidelines,

Gabriel should not have been placed in a cell with a violent offender given his

mental health episodes, misdemeanor charges and lack of criminal history.

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                                        53.

    Defendants Foster and Evans placed Gabriel in holding cell 7 with a violent

offender intentionally, maliciously and without regard for his safety.

                                        54.

    Thereafter, Defendant Foster intentionally and maliciously tased Gabriel

without cause or justification, which caused Gabriel injury and to defecate on

himself.

                                        55.

    The repeated physical attacks and tasing by Defendants Johnson, Stewart,

Hawkins, Foster, Cannon, Evans and Walker and John Does 1-2, caused Gabriel

to suffer irreparable injury including a severe traumatic brain injury, subdural

hematoma, subarachnoid hemorrhage, closed fracture of nasal bone and left-eye

blindness and were clear violations of state law, in which Defendants were aware

by virtue of their employment as Sheriff’s deputies and constituted an aggravated

battery in violation of O.C.G.A § 16-5-24, an aggravated assault in violation of

O.C.G.A §16-5-21, and reckless conduct in violation of §16-5-60(b) among other

violations of state law. Gabriel has also suffered physical and emotional pain

suffering, along with significant past medical expenses.



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                                        56.

    Defendants Johnson, Stewart, Hawkins, Foster, Cannon, Evans, Walker and

John Does 1-2 intended to and did commit a violent injury when they repeatedly

struck Gabriel and Defendant Foster intended a violent injury when he tased him.

Gabriel reasonably apprehended that he would receive a violent injury when he

was repeatedly struck and tased.

                                        57.

    Defendants Johnson, Stewart, Hawkins, Foster, Cannon, Evans, Walker and

John Does 1-2 intended to and did cause substantial physical harm and visible

bodily harm to Gabriel when they repeatedly struck him and when Defendant

Foster tased him. Gabriel reasonably apprehended that their malicious actions

would cause him substantial physical harm and visible bodily harm.

COUNT FOUR: DELIBERATE INDIFFERENCE TO RENDER GABRIEL
   ARRIES ACCEPTABLE MEDICAL CARE AND TREATMENT IN
 VIOLATION OF § 1983 AND HIS RIGHT TO BE FREE FROM CRUEL
                AND UNUSUAL PUNISHMENT

                                        58.

    Plaintiff re-alleges and incorporates the above paragraphs of the Complaint

as though they were fully set forth herein.




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                                        59.

     As an inmate in the custody and care of the Clayton County Sheriff’s

Department, Gabriel Arries was entitled to adequate and necessary medical care

pursuant to the Fourteenth Amendments of the U.S. Constitution and 42 U.S.C. §

1983.

                                        60.

     Defendants personally acted with deliberate indifference to Gabriel’s serious

medical and mental health issues, purposely leading to the violation of Gabriel’s

Fourteenth Amendment Civil Rights, causing him unnecessary pain and suffering.

                                        61.

     On the day Defendants assaulted Gabriel, they knew that he was experiencing

a mental health episode and failed to get him appropriate mental healthcare which

led to continued erratic behavior. Moreover, after beating Gabriel for his behavior,

defendants left him for dead without adequate medical care to address the brain

injury they inflicted.

                                        62.

     Defendants negligently, willfully and/or wantonly disregarded the risk of

harm by failing to provide Gabriel with timely and appropriate medical care.

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                                        63.

    Such failures to obtain and ensure timely and appropriate medical care and

treatment of Gabriel was the moving force behind the violations of his

constitutional rights causing him unnecessary pain and suffering. Such failures also

caused delay in diagnosing and treating his brain bleed.

                                        64.

    Defendants’ deliberate indifference to Gabriel’s serious medical need caused

him pain and suffering.

                                        65.

    Defendants’ acts or omissions resulted in a violation of Gabriel Arries’

Fourteenth Amendment of the U.S. Constitution which confers civil rights and as

such, there is no right to Eleventh Amendment Immunity.

                                        66.

    As a result of the conduct by Defendants, Gabriel has suffered life-altering

brain damage and additional personal injuries as outlined in this Complaint. Gabriel

has also suffered physical and emotional pain and suffering, along with significant

medical expenses which he continues to accrue.




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                       COUNT FIVE: ATTORNEYS’ FEES

                                          67.

     Plaintiff re-alleges and incorporates the above paragraphs of the Complaint

as though they were fully set forth herein.

                                          68.

     Pursuant to 42 U.S.C. § 1988, Gabriel Arries is entitled to an award of

reasonable attorneys’ fees and costs of litigation.

        WHEREFORE, Plaintiff, Gabriel Arries prays as follows:

        a)     That process issue and that Defendants be served according to the law;

        b)     That Plaintiff has a trial by jury;

        c)     That Plaintiff has and recovers a verdict and judgment against

               Defendant for all compensatory, general, and punitive damages, and

               forreasonable attorney fees pursuant to 42 U.S.C. § 1988, and for all

               such amounts as may be proven before the trier of fact; and

        d)     That Plaintiff have such other and further relief as this Court deems just

               and proper under the circumstances.

      This 30th day of August, 2021.

                                 [signatures to follow]



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                                  CASH, KRUGLER & FREDERICKS, LLC

                                  /s/ Alwyn R. Fredericks
                                  ALWYN R. FREDERICKS, ESQ.
                                  Georgia Bar No. 275092
                                  LISA E. MCNARY, ESQ.
                                  Georgia Bar No. 456926

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                                  KASTORF LAW, LLC

                                  /s/ Kurt Kastorf
                                  KURT KASTORF, ESQ.
                                  (w/ express permission signed by
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                        CERTIFICATE OF COMPLIANCE

    Pursuant to LR 7.1C, the undersigned counsel certifies that the foregoing has been

prepared in Times New Roman 14 point, one of the four fonts and points approved by

the Court in LR 5.1C.

                                       CASH, KRUGLER & FREDERICKS, LLC

                                       /s/ Alwyn R. Fredericks
                                       ALWYN R. FREDERICKS, ESQ.
                                       Georgia Bar No. 275092
                                       LISA E. MCNARY, ESQ.
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